         Case 3:21-cr-00098-JBA Document 767 Filed 08/29/23 Page 1 of 1


               United States District Court for the District of Connecticut

                  3:21 CR 98 (JBA)
Case Number:
                  - - -- - -- -- - - - - -                                                     ALIG 29 2023 AM11:04
                                                                                              FILED-L6DC-CT -HAF.:TFDF'.D
United States of America


List the full name(s) of the plaintiff(s)/petitioners(s)

                   V.                                                    NOTICE OF APPEAL
Kenston Harry


List the fitll name(s) of the defendant(s)/respondent(s)


    . . I      b   .           Kenston Harry                              . h b
N ot1ce 1s 1ere y given t 11at _ _ _ _ __ _ _ _ __ _ _ _ _ _ _ __ _ _ _ _ 111 t ea ove-
                                  *List the names of all parties who are filing an appeal

named case, hereby appeal to the United States Court of Appeals for the Second Circuit from the

r;i fi I. d         d. h'        .      8.16.23
~ ma JU gment entere 111 t 1s action on _ _ _ _ _ _ _ __
                                                        Date Entered

                        OR

D order#( ___J entered in this action on _ __ _ _ _ _ _ _ described as:
                                                        Date Entered
Kenston Harry respectfully appeals his conviction and sentence.




(Provide a briefdescription of the decision in the order/judgment)

August 28, 2023                                                    ~~
              Date                                             ~                 Signature
Harry, Kens ton
                                             Name (Last, First, MI)
53 Briarwood Drive, Windsor, CT, 06095

         Address                                    City                            State
860-982-4489                                                    soundmotionaudio@gmail.com

                     Telephone                                             E-mail Address (if available)

*See Rule 3(c) for permissible ways of identifying appellants. Attach additional pages as necessary.

Note to inmate filers: If you are an inmate confined in an institution and you seek the timing benefit of Fed. R. App.
P. 4 (c)(l), complete Form 7 (declaration ofInmate Filing) andfile that declaration along with this Notice ofAppeal.

                                                                                                    Rev. I 1-16-22
